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By ECF

                                                 September 14, 2018

Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

           Re:        Great Western Insurance Company vs. Mark Graham, et. al.;
                      Case No. 18-cv-06249 (VSB)

Dear Judge Broderick:

        I represent defendant Edward Brendan Lynch in the above-referenced litigation.
Currently there is no order governing Mr. Lynch’s time to respond to the Complaint, nor has he
asked for an extension previously. By way of background, Mr. Lynch was served on August 27,
2018, one day before he left for Europe for two months to tend to certain medical issues. He is
currently scheduled to return from Europe on October 24. Given the circumstances, counsel for
Plaintiff has agreed to extend Mr. Lynch’s time to answer or move, from September 17, 2018 to
November 21, 2018. Thus, we respectfully request that the Court so-order this extension of time.

                                                 Respectfully,




                                                 Andy Oh
